






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00597-CR






Rachel Ann Kennedy a/k/a Rachel Ann Kinsley, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT

NO. 68757, HONORABLE FANCY H. JEZEK, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellant Rachel Ann Kennedy a/k/a Rachel Ann Kinsley has filed a pro se notice
of appeal from her judgment of conviction for the offense of criminal nonsupport, an offense
to&nbsp;which she pleaded guilty.  The district court has certified that this is a plea-bargain case, the
defendant has no right of appeal, and the defendant has waived the right of appeal.  See Tex. R. App.
P. 25.2(a)(2), (d).  Accordingly, we dismiss the appeal.


						__________________________________________

						Bob Pemberton, Justice

Before Justices Puryear, Pemberton and Henson

Dismissed

Filed:   October 19, 2012

Do Not Publish


